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    Ex-Marine lawyer 'not afraid' of Daniel Kinahan ahead of ...
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   Mr Montalvo, an ex Marine, told the Irish Mirror: "In a lawsuit, ...


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   Obituaries | Delgado Funeral Home
   Pat was preceded in death by his father: Alex M. Diaz. ... Haize Nevaeh Diaz, Patrick Jay Diaz,
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   Lawyers want boxing authorities to freeze fight proceeds ...
   Feb 11, 2021 — Boxer Joseph Diaz JrCredit: Getty Images - Getty. Lawyer Eric Montalvo last
   night also hit out at evil Kinahan for trying to wipe out boxing ...


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   Joseph Diaz Jr. v. Ralph Heredia 5:2020cv02332 - Justia ...
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   1975        Clark Murphy         Pennsylvania         1975      no women's division

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   Boxer's Manager Accuses Co., Law Firm VGC Of Racketeering
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   Montalvo, an attorney for Heredia, told Law360 that MTK Global ...


   http://www.fighthype.com › news › article43939

   notes from the boxing undergound: boxing and the mob
   Feb 15, 2021 — The signing of Diaz, which was allegedly accomplished with a ... in the world of
   boxing," Heredia attorney Eric Montalvo told Sunday World.


   https://www.europe.easybranches.com › ireland

   Lawyer for boxing agent vows to get millions ...
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   https://www.instagram.com › loladelaroche

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   https://www.losalfootball.org › roster_players

   Los Al Varsity - 2019 Regular Season - Roster - #68 - OG
   Eleuterio Montalvo #68·OG. No photo neutral. Height, 5'9". Weight, 253. Grade, Freshman.
   Game Log. - NO STATS AVAILABLE -.


   https://www.kidneywalk.org › Static › Fundraiser-List

   Fundraisers - 2021 Kidney Walk at the Detroit Zoo
   Elizabeth Montalvo. $283.00. $ · Ian miller. $280.00. $ · Sharon Wroblewski. $270.00 ... Jojo
   Diaz. $0.00. $ · Susan Gewarges. $0.00. $ · Jacqueline Griffin.


   https://www.courts.wa.gov › Courts › Court Briefs

   Court of Appeals Division I - Briefs - Washington State Courts ...
   81784-1 - In re the Marriage of: Irlanda Diaz-Rodriguez, Respondent v. Jose Marcelo Tenesaca,
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   https://www.msn.com › newsireland › ar-AANKQOg

   Mob boss Daniel Kinahan accused of trying to hide in his ...
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   Tony "Titanium" Montalvo for #NYCC (#NYCCwatch)

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